                            Case 2:23-cv-00240-EP-JBC Document 1-1 Filed 01/17/23 Page 1 of 3 PageID: 13
                                                         Exhibit A to the Complaint
Location: Flanders, NJ                                                                               IP Address: 24.189.39.227
Total Works Infringed: 26                                                                            ISP: Optimum Online
 Work      Hashes                                                               UTC          Site           Published     Registered   Registration
 1         Info Hash: DE865419BBC4814D9F020B35162EB1AFF5B3AA45                      01-07-   Tushy          09-13-2017    10-10-2017   PA0002086153
           File Hash:                                                                 2023
           6E89F918B0B6913A7160893047F800BCDB51B7E4EA33E0A71621C130000F427B       21:23:14
 2         Info Hash: FEFAF4DA701BEB55A642EB940C585B7C43DADA92                      12-24-   Tushy          01-16-2019    02-22-2019   PA0002155133
           File Hash:                                                                 2022
           F73B95CF47C38788BE1A73B14FF9407AF02B222C82111495FBE6897BFCBDD4EB       14:54:18
 3         Info Hash: C50F90F5C52D0EF98AF8FCB8DFA605B3EA200FBF                      11-10-   Vixen          08-26-2022    10-05-2022   PA0002373767
           File Hash:                                                                 2022
           FF3BC0768BBFC3B19053BD8540A326DAB4EEB760022FD41C7323A95403E824D6       15:22:55
 4         Info Hash: 522106AD5C604CAA38EEB8C9E645BB89B7246439                      11-07-   Tushy          07-31-2022    08-30-2022   PA0002367738
           File Hash:                                                                 2022
           E7E033B1618FD43B267E8CD0AF60A898EC2BEDA21372A6C5AE92760818965895       00:16:35
 5         Info Hash: 01BB889B19626055D4FECE1530514F55BBD5A467                      11-05-   Vixen          10-21-2022    11-01-2022   PA0002378075
           File Hash:                                                                 2022
           C00FC070305CAC0AE9AD7729C2B54ABE7575BDFB54FA0ECA6588F455C808FC81       19:26:16
 6         Info Hash: CEAE9B2216F023B0CD18E139290822AEEB2CEE87                      10-17-   Tushy          05-01-2018    06-19-2018   PA0002126640
           File Hash:                                                                 2022
           0AC7172D2D0C358B467BFB0D29699C5AC4BFCAA0FA27EE14AB7582938332D9A4       03:53:11
 7         Info Hash: 5D91252440CDEFB7C2E4405A916F4DEB5063595C                      09-20-   Vixen          06-28-2017    07-07-2017   PA0002070828
           File Hash:                                                                 2022
           F73FCDA1165E970AE9A222A83DC1FDC7077D408B7B89B460C05E3700E968CB59       14:39:05
 8         Info Hash: 13ED57A8579EDC673B6107A1CB8E433CA63A32CD                      08-22-   Tushy          07-15-2018    08-07-2018   PA0002132406
           File Hash:                                                                 2022
           2D8D29FE0B2B3C0128633D58196DF3E6A3024416037EF5873EB5D6BB64F085F3       14:02:56
 9         Info Hash: 81A5B7FD46D48D9968EBECEA3935BA6EC699D7D2                      08-08-   Blacked        01-10-2020    02-04-2020   PA0002225582
           File Hash:                                                                 2022
           D7E29BC8E2DFF2B8A2F0C4C08C0DB083366CB31DB87DA3B7495218857835949B       11:33:17
 10        Info Hash: 1A76A113C1D33455F6FB4D100985C9DA1974F425                      07-29-   Vixen          07-22-2022    08-30-2022   PA0002367741
           File Hash:                                                                 2022
           3A1FA743DEEE32C83316CCC75083FEBCC7CAAF64D5BE1B92439D792FDBDBA248       15:23:47
 11        Info Hash: 43A1E21CB079741FCEE864612707FDB33528A320                      06-25-   Blacked        03-23-2018    04-17-2018   PA0002116746
           File Hash:                                                                 2022   Raw
           6E49D7CD81714D11D52BD3F2E6083D4149D0B4855F156C72CC760975D7351AEA       15:26:19
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 237998568277605E33C4B44A07FF47F1565CA417                   06-22-   Blacked   01-10-2022   02-14-2022   PA0002335456
       File Hash:                                                              2022   Raw
       5146B7B4B21A89145586736228DDE49082B6323D8D307E564722A2147AB2EE75    23:52:19
13     Info Hash: 3D04CB0CE738558A4622603B3D95E3CC65FA5DA4                   06-22-   Blacked   01-25-2021   02-09-2021   PA0002276145
       File Hash:                                                              2022   Raw
       659ADF72BD7D1D3287E75B65E5A79BF5D3296FB6625F0D71AB979FDFB525BD69    23:45:05
14     Info Hash: F803DBA40F99BC661F95BB34BA6890AC0382266D                   06-11-   Blacked   03-01-2018   04-12-2018   PA0002091580
       File Hash:                                                              2022
       6FE74089011BACDE485A3A88825A999AFD059AF55DD699859E3752F1DB44FE8A    17:08:46
15     Info Hash: E1B4DE5C3E27DACD290ADEED9E548F0644D74E73                   06-01-   Blacked   12-21-2019   01-03-2020   PA0002219632
       File Hash:                                                              2022
       A802078DFD388951115A9DFBA87C43AA2022D5973DA9E6839FBABC50067D3404    11:59:28
16     Info Hash: 4942B26E65DF128854B844B35AB6AF20B3B289F2                   04-25-   Blacked   12-27-2021   01-17-2022   PA0002330095
       File Hash:                                                              2022   Raw
       CB10299C3EEC78FA0D9219A52B89DC3EEC9548B9EEF182D9A55A81F195FB17B4    12:43:35
17     Info Hash: C528B6C4CF48F8C66022CBD18D96548DF418CD02                   04-10-   Slayed    01-11-2022   02-03-2022   PA0002341794
       File Hash:                                                              2022
       600F04ADE3E74FEB8E6E7B8D540EA517BE6C8C308495A6A0E226B49E020DD7BB    14:05:23
18     Info Hash: 990CAAEE9A64DD0147CBBD732DB97F8BC7F76DDA                   04-02-   Slayed    11-18-2021   12-03-2021   PA0002333376
       File Hash:                                                              2022
       F92094F330CE70B84166256074081B571EB31CE5C9F562079A7F9A6C76C15427    17:33:37
19     Info Hash: 48F9F8DBA07C73622BBBBB00CA3FF1B819C5AF4B                   04-02-   Slayed    11-30-2021   12-03-2021   PA0002333380
       File Hash:                                                              2022
       DF6F12587B70C6219FAF0E96AFD167C6929A9B8B49F225672DD7FF43CC4CBCFF    17:19:24
20     Info Hash: 8FF0024B565750DFF01587CA19A5AE11DB95D42D                   03-30-   Vixen     01-28-2022   03-04-2022   PA0002345791
       File Hash:                                                              2022
       FE331A74264F95381F7AAB90DE103F7FA8864FE52E6062714672CFA08EA282F0    20:10:45
21     Info Hash: 809D941FDB36D41313F9C38E85C62A85E05F941A                   03-30-   Tushy     11-12-2018   12-10-2018   PA0002145826
       File Hash:                                                              2022
       A56B79DBE87BF9A9C57A310BDCE64619A8202C98B9936AB295EFFEC5D75BDA24    17:20:02
22     Info Hash: D9F8EDC264A29C3DC17B41DACD49D4EC6F169077                   03-30-   Blacked   07-24-2019   09-10-2019   PA0002199414
       File Hash:                                                              2022
       6AFE17B927785C73C9E93C248ACC00BD0FD4B07D604FB880012494CD5FEC0EFE    17:00:05
23     Info Hash: A96E202985BB9117D3E3163F8636AB7838EFFCB6                   03-30-   Tushy     06-05-2018   07-14-2018   PA0002128384
       File Hash:                                                              2022
       74B09860C50EA7354682FE6288BF8C2E1BA7B7577C7FC913856A5C7B03D3841B    13:19:49
                        Case 2:23-cv-00240-EP-JBC Document 1-1 Filed 01/17/23 Page 3 of 3 PageID: 15

Work   Hashes                                                             UTC       Site    Published    Registered   Registration
24     Info Hash: F9D83793A2AA55F8CFB42F5116C14168F73CDB6E                   03-28- Tushy   06-06-2021   06-15-2021   PA0002296921
       File Hash:                                                              2022
       35BC69BCAA0B7BB6A518963387DE5A99E48C1D3C34F16BA644AE0A25F696CA21    21:57:41
25     Info Hash: B82C01991EEB4A25F31C65FF84CDC8CB1B253F59                   03-25- Vixen   02-04-2022   02-14-2022   PA0002335462
       File Hash:                                                              2022
       CF5A358526923E89773249E53032E4B840AE51281850ABEE0268E3D4A18164A7    22:59:09
26     Info Hash: 1A8DCF0C152304F2BB246BDB17F0F9BF1AF0A33F                   03-25- Tushy   11-22-2020   11-30-2020   PA0002266355
       File Hash:                                                              2022
       87E07A405D15190CACF4C8AFA342BFB1677B86EBD7E48AF6A36013DE4CB7A190    12:45:57
